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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                           Criminal No. 22-180(1) (JNE/TNL

United States of America,

                                  Plaintiff,

v.                                                ORDER FOR APPOINTMENT
                                                  OF COUNSEL
Anthony Lee Hitchcock,

                                Defendant.


       The Court has determined that the defendant in the above matter is financially

unable to employ counsel and finds that it is in the interest of justice that counsel be

assigned.

       IT IS HEREBY ORDERED that George Dunn, Attorney ID 188165, is appointed

as counsel pursuant to 18 U.S.C. § 3006A.


Dated: August 19, 2022                         s/Becky R. Thorson
                                               Honorable Becky R. Thorson
                                               United States Magistrate Judge
